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             homeblog




           The IC Launch: A market
           perspective
                     Norton Wang




           6/29/2021



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           Note: Any assumptions made below are just educated guesses, exact ﬁgures are subject
           to change once the team releases more detailed info on token distribution.

           The Internet Computer has always been an ambitious project. One that required years of
           intense research, prototyping, testing, re-writing, more research, more testing, and
           ﬁnally... launch.

           No launch is perfect, try as you may. A project launch like this undergoes scrutiny from all
           kinds of participants - from early investors, to cryptocurrency traders, large market
           makers, developers from other communities in the industry, press, and of course, the
           masses on Twitter and Reddit. In this post, I'll share my understanding of launch from a
           market perspective.


           Market Participants
           On May 10 2021, 1600 UTC, ICP markets opened on Coinbase. Liquidity came from 4
           primary sources:

           Initial Liquidity from Finance

           When a new asset launches on exchanges, centralized or decentralized, it must have
           enough liquidity for accurate price discovery to occur. For most projects, some of this is
           provided by the project itself (in this case, the ﬁnance team) using its treasury. DFINITY is
           no exception here, with up to 3.5M ICP being distributed to Coinbase, Binance, Huobi,
           and OKEx. We don't have any information on how the proceeds from selling this ICP were
           used, nor do we know what the market maker fees were.

           These transactions are among the early batches distributed from Neuron 4000.

           Potential Tax Sales

           When a treasury comprised of illiquid tokens suddenly has a market for them, the
           increase in valuation usually comes with a tax burden. In order to pay for this, it is likely
           that tokens were sold. I am guessing that account 32c4, which was allocated 10M ICP, has
           been used for taxes. 1M ICP from this account was transferred to exchanges at launch.

           Restricted DFN Agreement holders

           Employees who joined prior to mid 2018 or so were offered a "Restricted DFN



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           Agreement", similar to how traditional startups offer an options package. These options
           contracts could be exercised in exchange for future ICP tokens, and came with a very
           standard 4-year vesting/1-year cliff. This contract was slowly phased out in favor of
           "Restricted Token Units" (RTUs), which are closer to RSUs (Restricted Stock Units) and
           have different tax implications than options. RTUs are also on different vesting schedules,
           with the ﬁrst vesting occurring on June 24, over a month after launch. Options holders
           had the unique beneﬁt of being fully liquid (vested amounts) at network launch. Up to
           20M ICP from this group made up the majority of day 1 liquidity, all being distributed
           from Neuron 4000.

           Others

           Finally, we have the remaining participants. This could include other early employees and
           investors who had different arrangements or other nonstandard contracts. We are
           unlikely to know the exact details of these arrangements due to NDAs or other legal
           obligations. Some of the previous 20M liquidity could actually be held by this group.

           Some accounts that could fall in this category include df4a and 0afb. Both were allocated
           2.5M ICP and subsequently transferred or further distributed up to 500k ICP.


           Who was not a market participant at launch?
           Genesis Accounts

           It is important to note that Genesis Account holders (Seed Round/Early Contributor)
           were required to undergo a KYC process in order to claim tokens. This, of course, is
           standard practice for compliant token sales nowadays, but was not back in 2017 and
           2018. These participants were only able to start the KYC process right around network
           launch, and the time that the ﬁrst participant could access liquidity was 2021-05-10
           20:54 UTC, 4 hours after trading opened.

           The following table summarizes when Genesis Accounts were able to ﬁrst access
           liquidity.

            NUM SUM_ICP     DATE
            --------------------------
            1    1660.38    2021-05-10
            4    329137.77 2021-05-11
            11   100579.97 2021-05-12
            6    185230.16 2021-05-13



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            2     10885.08     2021-05-14
            29    189171.42    2021-05-15
            9     45014.30     2021-05-16
            5     18970.77     2021-05-17
            22    236006.17    2021-05-18
            9     32304.99     2021-05-19
            24    135407.08    2021-05-20
            2     9378.63      2021-05-21
            5     14120.32     2021-05-22
            1     2489.51      2021-05-23
            13    80928.11     2021-05-24
            19    70432.47     2021-05-25
            7     21080.25     2021-05-26
            2     6193.51      2021-05-27
            1     4188.20      2021-05-31


           In aggregate, only 880k ICP of liquidity from the Genesis Accounts was available in the
           ﬁrst week!

           Foundation Divestments

           Likely due to listing requirements imposed by Coinbase, the Foundation was unable to
           divest any of its own treasury holdings for the ﬁrst week after launch. The Foundation
           incurs expenses (eg. payroll), which must be paid for in ﬁat currencies - any functional
           foundation must sell some of its holdings in order to operate. It is likely that the
           Foundation was only able to sell some of its treasury after May 24, at an average ICP price
           of less than $150.

           Presale/Strategic

           We know that Presale and Strategic investors are on 12 and 36 month vesting schedules,
           respectively. However, we do not know if any participants had special commencement
           date or upfront liquidity clauses in their terms. Perhaps some of them did have access to
           at least part of their allocation on launch day.

           Most Current Employees

           As mentioned earlier, RTU agreements only started distribution on June 24, long after
           the market open. The vast majority of current employees are on this arrangement, with
           the transition from options to RTUs having been completed by June 2020. RTUs vest
           over 4 years, and come with tax withholding capabilities. There is also now an employee
           program that incentivizes long-term staking.

           As is the norm for startups that grow very quickly, compensation packages for early


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           employees who take a risk and join a new venture can skew quite high, before being
           standardized (and decreasing) over time. Allegations that "each employee owns $15M in
           liquid tokens" are simply untrue, and frankly, offensive.


           The Implications
           Summary of Liquidity




           We can estimate that up to 25M ICP of liquidity was available at launch. We can see that
           the vast majority, upwards of 81.6%, of this initial liquidity was provided by the
           "Restricted DFN Agreement" holders. Foundation provided liquidity for market making
           and tax purposes made up the remaining 18.4%.

           We know that the total supply of ICP at launch was around 469M, and 25M is a little over
           5% of supply. We also know that the ICP Futures market on FTX was popular before liquid
           ICP was available. The limited supply, combined with the sentiment-based speculation
           common with new token launches, created the conditions necessary for ICP to trade at
           up to $700. Over the next few weeks, supply from Genesis Accounts slowly became
           accessible, the ﬁrst distributions for Presale and Strategic investors were sent, and the
           price gradually declined. The fact that the broader market sentiment was turning bearish


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           only exacerbated the downtrend.

           Clearly, this was not an ideal situation. What could have been improved?

           Genesis account KYC should have started months before launch. Month 0 Neuron
           should have been fully unlocked and ready to be supplied to the markets the moment
           that trading opened. This would have allowed much better price discovery.

           Genesis account holders needed better tooling at launch. There are always so many
           priorities to balance when launching a network. Unfortunately, tooling for seed investors
           was simply not high enough on that list. Having a smooth UX would have given these
           investors the conﬁdence to actually move their funds and help alleviate supply issues.

           Restricted DFN Agreements should have been less favorable to ex-employees.
           Employees who voluntarily left DFINITY (or were let go) kept these very favorable terms.
           Some higher level employees, such as VPs or Directors who joined in 2018, could have
           negotiated very generous compensation packages, then leave (or get ﬁred) and have the
           ability to maximize their proﬁts in the ﬁrst days of trading. Of course, this agreement was
           legally binding, so there really was no way to address this issue.


           Conclusions
           We can all observe that the ICP price has declined by 95% since all-time high, but that is
           ignoring the fundamental issue at play. Launching a network is hard. It will never be
           perfect. Sometimes the market conditions dictate that you must launch now. In the rush
           to deploy so many moving parts, some things get neglected: token management UX and
           KYC processes among them.

           It's easy to buy into false narratives and jump on a bandwagon. We hear accusations of
           insider trading, of misleading investors, and of the team wildly proﬁting from retail
           investors - all very much attention grabbing, but very much lacking in nuance. It is
           ridiculous to say the team was negligent or acting maliciously, but certainly, we can
           blame them for not executing the perfect launch.




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